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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA

    v.

    MICHAEL T. FLYNN,                           Criminal Action No. 17-232-EGS

    Defendant.




          FOURTH SUPPLEMENT IN SUPPORT OF AGREED DISMISSAL

         On May 7, 2020, the Government moved to dismiss the prosecution of General

Flynn. ECF No. 198. Until this case is dismissed with prejudice, the Government

has a continuing obligation to provide to the defense all evidence that is exculpatory

of General Flynn, establishes misconduct by the Government in its many capacities

that contributed to this wrongful prosecution, or otherwise is favorable to the

defense. Brady v. Maryland, 373 U.S. 83 (1963). The defense has a continuing

obligation to make a record that mandates this dismissal. Consequently, General

Flynn is supplementing the record in support of the Government’s Rule 48(a) motion

and his consent to dismiss with a production he received from the Government last

night, which is attached hereto as Exhibit A. The Government consents to the filing

of the exhibit, as produced.




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Dated: September 28, 2020          Respectfully submitted,

/s/ Jesse R. Binnall               /s/ Sidney Powell
Jesse R. Binnall                   Sidney Powell
Abigail C. Frye                    Molly McCann
Harvey & Binnall, PLLC             Sidney Powell, P.C.
717 King Street, Suite 300         2911 Turtle Creek Blvd.,
Alexandria, VA 22314               Suite 300
Tel: (703) 888-1943                Dallas, Texas 75219
Fax: (703) 888-1930                Tel: 214-707-1775
jbinnall@harveybinnall.com         sidney@federalappeals.com
afrye@harveybinnall.com            Admitted Pro Hac Vice
Admitted Pro Hac Vice              molly@federalappeals.com
                                   Admitted Pro Hac Vice




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                           CERTIFICATE OF SERVICE

      I hereby certify that on September 28, 2020, I electronically filed the foregoing

Supplement with the Clerk of Court using the CM/ECF system. I further certify that

the participants in the case are registered CM/ECF users and that service will be

accomplished by the court’s CM/ECF system.


                                              Respectfully submitted,

                                              /s/ Jesse R. Binnall
                                              Jesse R. Binnall, VSB# 79272
                                              Harvey & Binnall, PLLC
                                              717 King Street, Suite 300
                                              Alexandria, VA 22314
                                              Tel: (703) 888-1943
                                              Fax: (703) 888-1930
                                              jbinnall@harveybinnall.com




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